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                                                          10
                                                          11
                                                                                   UNITED STATES DISTRICT COURT
                                                          12
                                                                                  CENTRAL DISTRICT OF CALIFORNIA
F ENWICK & W EST LLP




                                                          13
                       ATTORNEYS AT LAW
                                          SAN FRANCISCO




                                                                                           WESTERN DIVISION
                                                          14
                                                               ALS SCAN, INC.,                        Case No.: 2:16-cv-05051-GW-AFM
                                                          15
                                                                             Plaintiff,               DEFENDANTS CLOUDFLARE,
                                                          16                                          INC. AND STEADFAST
                                                                    v.                                NETWORKS, LLC’S REQUEST
                                                          17                                          FOR A TELEPHONE
                                                               CLOUDFLARE, INC., et al.,              CONFERENCE REGARDING
                                                          18                                          SUMMARY JUDGMENT
                                                                             Defendants.              SCHEDULING
                                                          19
                                                          20
                                                                                                      Date:         January 11, 2018
                                                          21                                          Time:         8:30 A.M.
                                                                                                      Crtm:         9D
                                                          22                                          Judge:        George H. Wu
                                                          23                                          Trial Date:   April 24, 2018
                                                          24
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                                                          27
                                                          28   REQUEST FOR TELEPHONE                           CASE NO. 2:16-CV-05051-GW-AFM
                                                               CONFERENCE REGARDING
                                                               SUMMARY JUDGMENT SCHEDULING
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                                                           1           Defendants Cloudflare and Steadfast Networks request a telephonic
                                                           2 conference with the Court to address the scheduling of the pending and upcoming
                                                           3 summary judgment motions. They ask the Court to schedule a single hearing for all
                                                           4 the related motions. In addition, Cloudflare asks the Court to confirm the dates in
                                                           5 the current scheduling order (Dkt. 256, filed September 8, 2017) as applying to both
                                                           6 the Plaintiff’s and Cloudflare’s upcoming summary judgment motions in light of
                                                           7 Plaintiff’s announcement that it plans to force an earlier schedule on Cloudflare.
                                                           8           Consolidating the hearings on all the related motions. Plaintiff ALS Scan
                                                           9 has indicated that it wants multiple different hearings on the pending and imminent
                                                          10 summary judgment motions, but Defendants Cloudflare and Steadfast Networks
                                                          11 believe that it would benefit the Court and the parties for all the motions to be heard
                                                          12 at the same time. There will be four motions: one by Plaintiff against each of the
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                                                          13 two defendants and one by each of the two defendants. Accompanying Declaration
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                                                          14 of Andrew P. Bridges (“Bridges Decl.”) at ¶¶ 2-3.
                                                          15           While the facts pertaining to Cloudflare and Steadfast Networks differ, the
                                                          16 major legal issues in the case and the upcoming motions, namely contributory
                                                          17 copyright infringement claims against both, are nearly identical. Id. at ¶ 3. It
                                                          18 would benefit both the Court and the parties to address at one hearing all three
                                                          19 parties’ views and arguments regarding the relevant standards, including the
                                                          20 relevance of various Supreme Court, Ninth Circuit, and other authorities.
                                                          21 Coordinated argument and hearing on all the related motions would give the Court
                                                          22 a better basis for consistent application of the law of contributory copyright
                                                          23 infringement to the claims against both defendants.1
                                                          24           Confirming the briefing schedule for the upcoming motions. Plaintiff has
                                                          25 indicated that it plans to file its motion for partial summary judgment against
                                                          26 Cloudflare soon and will likely notice a hearing for February 15. Id. at ¶ 2.
                                                          27   1
                                                              Plaintiff filed its motion against Steadfast Networks and noticed a hearing on
                                                          28 January 4 (Dkt. 296); the Court continued that hearing until January 18 (Dkt. 310).
                                                              REQUEST FOR TELEPHONE                                CASE NO. 2:16-CV-05051-GW-AFM
                                                              CONFERENCE REGARDING                       1
                                                                   SUMMARY JUDGMENT SCHEDULING
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                                                           1 Cloudflare explained that, under the current scheduling order (Dkt. 256, filed
                                                           2 September 8, 2017), oppositions to summary judgment motions are due on
                                                           3 February 15. Id. Plaintiff indicated that it expected to require Cloudflare to file its
                                                           4 opposition to Plaintiff’s motion well earlier, according to Plaintiff’s own schedule.
                                                           5 Plaintiff apparently seeks to force an opposition by Cloudflare on January 25, even
                                                           6 though the final expert depositions are likely to occur on January 22.2 Id. at ¶ 5.
                                                           7 When Cloudflare said it appeared Plaintiff was trying to jam Cloudflare’s counsel
                                                           8 with opposition briefing and expert discovery at the same time, Plaintiff offered a
                                                           9 so-called “compromise” of a one-week delay, still extremely burdensome for
                                                          10 Cloudflare with only 10 days between the close of expert discovery and the
                                                          11 “compromise” opposition deadline that Plaintiff suggests. Id.
                                                          12          Both Cloudflare and Steadfast anticipate filing their motions on February 1,
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                                                          13 with oppositions due on February 15, replies due on March 1, and hearings on
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                                                          14 March 15, the dates the Court set in the current scheduling order. Id. at ¶ 3.
                                                          15 Cloudflare asks that the same dates apply to Plaintiff’s upcoming motion.
                                                          16          Cloudflare and Steadfast make this request following the conference of
                                                          17 counsel with Plaintiff ALS Scan, Inc. on Friday, January 5, 2018. ALS Scan has
                                                          18 advised Defendants that it opposes consolidating hearings on Thursday, March 15,
                                                          19 2018, and it still seeks to require Cloudflare to file its opposition to Plaintiff’s
                                                          20 summary judgment motion earlier than the deadlines in the Court’s current
                                                          21 scheduling order.
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                                                          26   The current expert discovery cutoff is January 18, but the parties envision making
                                                             a consent motion to extend that date to January 22 to accommodate numerous
                                                          27 schedules. The parties have agreed to expert depositions on January 16, 18, 19, and
                                                          28 22. Bridges Decl. at ¶ 4.
                                                               REQUEST FOR TELEPHONE                     2         CASE NO. 2:16-CV-05051-GW-AFM
                                                               CONFERENCE REGARDING
                                                                   SUMMARY JUDGMENT SCHEDULING
                                          Case 2:16-cv-05051-GW-AFM Document 311 Filed 01/09/18 Page 4 of 4 Page ID #:7308



                                                           1 Dated: January 9, 2018                   FENWICK & WEST LLP
                                                           2
                                                           3                                          By:     /s/ Andrew P. Bridges
                                                                                                            Andrew P. Bridges
                                                           4                                                Attorneys for Defendant
                                                                                                            CLOUDFLARE, INC.
                                                           5
                                                           6 Dated: January 9, 2018                   PARTRIDGE PARTNERS, P.C.
                                                           7
                                                           8                                          By:      /s/ John L. Ambrogi
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                                                          12
                                                                                                            Attorneys for Defendant
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                                                          13                                                STEADFAST NETWORKS, LLC
                       ATTORNEYS AT LAW
                                          SAN FRANCISCO




                                                          14
                                                          15                                    ATTESTATION
                                                          16         Pursuant to C.D. Cal. Local Rule 5-4.3.4, Cloudflare attests that all
                                                          17 signatories concur in and have consented to this electronic filing.
                                                          18
                                                          19 Dated: January 9, 2018                   FENWICK & WEST LLP
                                                          20                                          By:     /s/ Andrew P. Bridges
                                                                                                            Andrew P. Bridges
                                                          21                                                Attorneys for Defendant
                                                                                                            CLOUDFLARE, INC.
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                                                                REQUEST FOR TELEPHONE                       3        CASE NO. 2:16-CV-05051-GW-AFM
                                                                CONFERENCE REGARDING
                                                                SUMMARY JUDGMENT SCHEDULING
